Case 6:23-cv-00871-CEM-DCI Document 36 Filed 06/03/23 Page 1 of 2 PageID 258




                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

 CHRISTOPHER E. DORWORTH,
        Plaintiff,
 v.
 JOEL MICAH GREENBERG, ANDREW W.                       Case No.: 6:23-CV-00871
 GREENBERG, SUE GREENBERG, ABBY
 GREENBERG, AWG, INC., GREENBERG
 DENTAL ASSOCIATES, LLC, GREENBERG
 DENTAL & ORTHODONTICS, P.A.,
 GREENBERG DENTAL SPECIALTY GROUP,
 LLC, and A.B.,
        Defendants.




         NOTICE OF WITHDRAWAL OF PARAGRAPHS FROM COMPLAINT

       Plaintiff Chris Dorworth hereby provides notice that he is withdrawing Paragraphs 354,

355, 622, 628, 629, 630, 632, 633, 641, 642, 643, and 644, in full, and all of Paragraph 649 prior

to “Abby Greenberg,” all from the Verified Complaint filed in the Eighteenth Judicial Circuit on

April 7, 2023. This withdrawal is without prejudice, as a courtesy to Abby Greenberg, and solely

to streamline the allegations and avoid unnecessary litigation.

June 3, 2023.                                        Respectfully Submitted,

                                                     /s/Michael Paul Beltran
                                                     Michael P Beltran
                                                     Fla. Bar No. 0093184
                                                     Beltran Litigation, P.A.
                                                     4920 West Cypress St.
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                                                     mike@beltranlitigation.com
                                                     Counsel for Plaintiff Dorworth
Case 6:23-cv-00871-CEM-DCI Document 36 Filed 06/03/23 Page 2 of 2 PageID 259




                                CERTIFICATE OF SERVICE

       I will file a copy of the foregoing on the Court’s electronic system, which will send a
copy to all counsel of record.
                                                     /s/Michael Paul Beltran
                                                     Michael P Beltran
